Case 2:03-cv-02456-.]PI\/|-STA Document 156 Filed 08/04/05 Pagelon Page|D 118

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WESTER.N DISTRICT OF TENNESSEE

WESTERN DIVISION

 

 

 

RONLLD M. BOWMAN, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
SHELBY (.`.‘OUN'.['Ylr et al., CASE NO: 03-2456 Ml/An
Defendants.
JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE OIRDIE!REDIr ADJ'UDGED, AND DECREED that, in
accordance with the Order of Dismissal, entered August ,
2005, this case is DISMISSED.

AP PROVED :

-M‘OJLQ.

JO P. MCCALLA
TED STATES DISTRICT JUDGE

 

 

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DAq§;) Clerk of Court

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This notice confirms a copy of the document docketed as number 156 in
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Honorable J on McCalla
US DISTRICT COURT

